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 6                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
 7

 8 UNITED STATES OF AMERICA,                         3:19-CR-057-MMD-WGC

 9                  Plaintiff,                       Final Order of Forfeiture

10          v.

11 DOUGLAS STEVEN MILLER,

12                  Defendant.

13          The United States District Court for the District of Nevada entered a Preliminary
14 Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (b)(2) and 18 U.S.C. §

15 2253(a)(1) and (a)(3) based upon the plea of guilty by Douglas Steven Miller to the criminal

16 offense, forfeiting the property set forth in the Plea Agreement and the Forfeiture Allegation

17 of the Indictment and shown by the United States to have the requisite nexus to the offense

18 to which Douglas Steven Miller pled guilty. Indictment, ECF No. 1; Plea Agreement, ECF

19 No. 27; Change of Plea, ECF No. 33; Preliminary Order of Forfeiture, ECF No. 35.

20          This Court finds that on the government’s motion, the Court may at any time enter
21 an order of forfeiture or amend an existing order of forfeiture to include subsequently

22 located property or substitute property pursuant to Fed. R. Crim. P. 32.2(e) and

23 32.2(b)(2)(C).

24          This Court finds the United States published the notice of forfeiture in accordance
25 with the law via the official government internet forfeiture site, www.forfeiture.gov,

26 consecutively from October 29, 2020, through November 27, 2020, notifying all potential

27 third parties of their right to petition the Court. Notice of Filing Proof of Publication

28 Exhibits, ECF No. 37-1, p. 5.
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 1          This Court finds no petition was filed herein by or on behalf of any person or entity

 2   and the time for filing such petitions and claims has expired.

 3          This Court finds no petitions are pending with regard to the property named herein

 4   and the time for presenting such petitions has expired.

 5          THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that

 6   all possessory rights, ownership rights, and all rights, titles, and interests in the property

 7   hereinafter described are condemned, forfeited, and vested in the United States pursuant to

 8   Fed. R. Crim. P. 32.2(b)(4)(A) and (b)(4)(B); Fed. R. Crim. P. 32.2(c)(2); 18 U.S.C. §

 9   2253(a)(1) and (a)(3); and 21 U.S.C. § 853(n)(7) and shall be disposed of according to law:

10                  1. Seagate Barracuda 8GB hard drive;

11                  2. Western Digital 1TB hard drive, serial number WCC4J3877143;

12                  3. Western Digital 250GB hard drive, serial number WXJOA79E8689;

13                  4. Seagate 4TB External hard drive, serial number NA9F5B13;

14                  5. Black Cricket cell phone (cracked screen);

15                  6. Black Alcatel flip phone, model A405DL/IMEI 015114001644527;

16                  7. Black Alcatel cell phone with cord;

17                  8. Cricket Nokia cell phone (green back, pink case), IMEI

18                      353069063719700;

19                  9. Samsung cell phone;

20                  10. ZTE black cell phone (broken screen), serial number 322542632873,

21                      model Z932L;

22                  11. Black LG cell phone, serial number 809VTKE0382365, IMEI

23                      357021093783657;

24                  12. Black Alcatel cell phone, model A466BG, IMEI 014866004534085;

25                  13. Hitachi 250GB hard drive, serial number 121217E20253320H9A4J;

26                  14. Black and silver Logitech USB;

27                  15. Gray Samsung Verizon Galaxy cell phone, model SM-G900V, IMEI

28                      990004917880290;
                                                      2
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 1                 16. Black LG cell phone, model LAAG MP450, serial number

 2                     708CYSF370558, IMEI 357017-08-3705 58-5;

 3                 17. 8G Wintec File Mate thumb drive; and

 4                 18. Black Logitech Bluetooth thumb drive, 2.0 EDR

 5   (all of which constitutes property).

 6          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any and all

 7   forfeited funds, including but not limited to, currency, currency equivalents, certificates of

 8   deposit, as well as any income derived as a result of the government’s management of any

 9   property forfeited herein, and the proceeds from the sale of any forfeited property shall be

10   disposed of according to law.

11          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Clerk send

12   copies of this Order to all counsel of record.

13                 January 8
            DATED _____________________, 2021.

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16                                               MIRANDA M. DU
                                                 UNITED STATES DISTRICT JUDGE
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